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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 MAGNUS SODAMIN, et al.                                      Case Number
                                                             1:16-CV-20049-UU
        Plaintiffs,

 v.

 TRINITY CHURCH, INC., et al.,

       Defendants.
 __________________________________/

                             INTERIM JOINT STATUS REPORT

        Plaintiffs and Defendants hereby file their Interim Joint Status Report in the above

 captioned action.

        Plaintiffs and Defendants have reached an agreement on settlement and have a fully

 executed settlement agreement in place. We expect to file a Stipulation of Dismissal before the

 end of this month. Should anything further arise, we will update the Court immediately.




 Respectfully submitted on June 17, 2015,


                                              s/Robert John McCaffery Jr.
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                                             Berros, and David Anasagasti


                                CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that a true and correct copy of the foregoing was served via electronic
 filing with the Clerk of the Court using CM/ECF on this 17th day of June, 2016 on all counsel or
 parties of record on the attached Service List below.

                                             s/Robert John McCaffery Jr.
                                             Robert John McCaffery Jr.
                                             (Florida Bar Number: 48136)


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